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                                                     13
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                                                                                         UNITED STATES DISTRICT COURT
                                                     14

                                                     15                               NORTHERN DISTRICT OF CALIFORNIA

                                                     16   AU OPTRONICS CORPORATION AMERICA,                      )   Case No.
                                                          a California corporation,                              )
                                                     17                                                          )   COMPLAINT FOR DECLARATORY
                                                                                        Plaintiff,               )   JUDGMENT AND EQUITABLE
                                                     18                                                          )   RELIEF
                                                                                                                 )
                                                     19          vs.                                             )
                                                                                                                 )
                                                     20   VISTA PEAK VENTURES, LLC                               )   DEMAND FOR JURY TRIAL
                                                                                                                 )
                                                     21                                 Defendant.               )
                                                                                                                 )
                                                     22                                                          )

                                                     23

                                                     24          Plaintiff AU OPTRONICS CORPORATION AMERICA, for its Complaint for Declaratory
                                                     25   Judgment and Equitable Relief, avers and alleges as follows:
                                                     26                             THE PARTIES, JURISDICTION, AND VENUE
                                                     27          1.      Plaintiff AU OPTRONICS CORPORATION AMERICA (“AUO USA”) is a
                                                     28   corporation organized and existing under the laws of the state of California with its principal place of


                                                                          COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1   business and center of operations located at 1525 McCarthy Blvd., Suite 218, Milpitas, California

                                                      2   95035.

                                                      3            2.   Defendant VISTA PEAK VENTURES, LLC (“Defendant”) is a limited liability

                                                      4   company that purports to be organized and existing under the laws of the state of Texas with its

                                                      5   business address located at 1400 Preston Rd, Suite 472, Plano, TX 75093.

                                                      6            3.   Defendant has filed three separate actions in the Marshall Division of the District

                                                      7   Court for the Eastern District of Texas accusing AUO USA’s parent company, AU Optronics

                                                      8   Corporation (“AUO”), of infringing the following United States Patents: U.S. Patent No. 5,929,947

                                                      9   (“the ’947 patent”), U.S. Patent No. 6,579,749 (“the ’749 patent”), U.S. Patent No. 6,674,093 (“the

                                                     10   ’093 patent”), U.S. Patent No. 6,800,872 (“the ’872 patent”), U.S. Patent No. 6,891,196 (“the ’196

                                                     11   patent”), U.S. Patent No. 7,088,401 (“the ’401 patent”), U.S. Patent No. 6,404,474 (“the ’474

                                                     12   patent”), U.S. Patent No. 6,657,699 (“the ’699 patent”), U.S. Patent No. 7,009,673 (“the ’673

                                                     13   patent”), U.S. Patent No. 7,499,119 (“the ’119 patent”), U.S. Patent No. 6,781,643 (“the ’643
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                                                     14   patent”), U.S. Patent No. 7,046,327 (“the ’327 patent”), and U.S. Patent No. 6,730,970 (“the ’970
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                                                     15   patent”), collectively, the “Asserted Patents.” See Vista Peak Ventures, LLC v. AU Optronics Corp.,

                                                     16   Case Nos. 2:18-cv-00276-JRG, ¶¶ 10, 22, 34, 46, 57, 68, 80; 2:18-cv-00278-JRG, ¶¶ 10, 33, 44, 45,

                                                     17   56; and 2:18-cv-00279-JRG, ¶¶ 10, 34, 45.

                                                     18            4.   In an effort to manufacture personal jurisdiction over AUO, Defendant further alleges
                                                     19   in each of these complaints that AUO controls AUO USA and that AUO USA “has committed acts

                                                     20   within Texas giving rise to this action and/or has established minimum contacts with Texas such that

                                                     21   personal jurisdiction over AUO would not offend traditional notions of fair play and substantial

                                                     22   justice.” See Vista Peak Ventures, LLC v. AU Optronics Corp., Case Nos. 2:18-cv-00276-JRG, ¶¶ 8-

                                                     23   9; 2:18-cv-00278-JRG, ¶¶ 8-9; and 2:18-cv-00279-JRG, ¶¶ 8-9.

                                                     24            5.   In ad damnum clause in each of its complaints, Defendant requests the court, inter

                                                     25   alia, to enjoin AUO USA from “making, using, selling, offering to sell, or importing any products

                                                     26   that infringe the Asserted Patents, and any other injunctive relief the Court deems just and

                                                     27   equitable.” See Vista Peak Ventures, LLC v. AU Optronics Corp., Case Nos. 2:18-cv-00276-JRG,
                                                     28   pp. 28-29; 2:18-cv-00278-JRG, pp. 22; and 2:18-cv-00279-JRG, pp. 19-20.

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                                                                         COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1           6.     Consequently, this action arises under the patent laws of the United States, namely 35

                                                      2   U.S.C. §§ 271, 281, and 284-285, among others.

                                                      3           7.     Jurisdiction: This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

                                                      4   and 1338(a).

                                                      5           8.     Intradistrict Assignment: Pursuant to Civil Local Rule 3-5(b), this case is properly

                                                      6   assigned to the San Jose division.

                                                      7           9.     Defendant is subject to this Court’s specific personal jurisdiction pursuant to due

                                                      8   process and/or the California Long Arm Statute, due at least to Defendant’s substantial business in

                                                      9   this State and judicial district, including its engagement of Ascenda Law Group of 333 W. San

                                                     10   Carlos Street, Suite 200, San Jose, California 95110 as counsel to acquire the Asserted Patents, see

                                                     11   Assignment Reel/Frame No. 045469/0023 from Getner Foundation LLC to Vista Peak Ventures,

                                                     12   LLC (attached hereto as Exhibit A), and, upon information and belief, authorizing that Firm’s filing

                                                     13   of powers of attorney to act on behalf of Defendant before the United States Patent and Trademark
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                                                     14   Office with respect to at least some of the Asserted Patents after their acquisition.
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                                                     15           10.    Defendant is also subject to this Court’s specific personal jurisdiction pursuant to due

                                                     16   process and/or the California Long Arm Statute due at least to Defendant’s targeting of specific

                                                     17   residents of this State and judicial district, including AUO USA, against whom Defendant seeks

                                                     18   injunctive relief in its complaints filed in the Eastern District of Texas based upon its assertions that
                                                     19   AUO USA both infringes the Asserted Patents and aids in AUO’s alleged infringement of the

                                                     20   Asserted Patents. See Vista Peak Ventures, LLC v. AU Optronics Corp., Case Nos. 2:18-cv-00276-

                                                     21   JRG, ¶¶ 8-9; 2:18-cv-00278-JRG, ¶¶ 8-9; and 2:18-cv-00279-JRG, ¶¶ 8-9. Had Defendant included

                                                     22   AUO USA as a party defendant in its complaints against AUO, 28 U.S.C. §§ 1391(c)(3) and 1400(b)

                                                     23   would require those complaints to have been filed in this District. Defendant’s failure to name AUO

                                                     24   USA as a party defendant in its complaints notwithstanding Defendant’s claim for injunctive relief

                                                     25   against AUO USA for alleged infringement of the Asserted Patents is tantamount to depriving AUO

                                                     26   USA of its procedural rights to defend such claims in the legally appropriate venue, namely, this

                                                     27   District.
                                                     28           11.    Venue is appropriate pursuant to 28 U.S.C. § 1391(b) because this District is the

                                                                                                     3
                                                                          COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1   location where a substantial portion of the events at issue in this suit occurred.

                                                      2                                        FACTUAL BACKGROUND

                                                      3          12.     Each of the Asserted Patents was issued between July 27, 1999, and March 3, 2009,

                                                      4   to NEC Corporation or its affiliates (collectively, “NEC”).

                                                      5          13.     Since at least 2001, AUO and AUO USA have been and continue to be engaged in

                                                      6   the business of thin film transistor liquid crystal displays (“TFT-LCDs”) and other flat panel displays

                                                      7   used in a wide variety of applications.

                                                      8          14.     Since at least 2003, NEC has been a customer of AUO, purchasing its TFT-LCD

                                                      9   display products. See https://www.auo.com/en-global/New_Archive/detail/news_Product_20030120.

                                                     10          15.     Upon information and belief, NEC has been aware of the TFT-LCD technology of

                                                     11   AUO that Defendant accuses of infringement in its complaints since at least 2003.

                                                     12          16.     NEC assigned the Asserted Patents to Getner Foundation LLC (“Getner”) in April

                                                     13   2011. See Assignment Reel Frame No. 026312/0213 from NEC Corporation to Getner Foundation
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                                                     14   LLC (attached hereto as Exhibit B) and Assignment Reel Frame No. 026254/0400 from NEC
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                                                     15   Corporation to Getner Foundation LLC (attached hereto as Exhibit C). Getner assigned the Asserted

                                                     16   Patents to Defendant in February 2018. See Exhibit A.

                                                     17          17.     For each Asserted Patent, Defendant has accused AUO of patent infringement under

                                                     18   35 U.S.C. § 271(a) by “making, offering for sale, selling, and/or importing those TFT-LCD panels,
                                                     19   their components, and/or products containing same that incorporate the fundamental technologies

                                                     20   covered by [one of the Asserted Patents], or by having [AUO USA] do the same.” See Vista Peak

                                                     21   Ventures, LLC v. AU Optronics Corp., Case Nos. 2:18-cv-00276-JRG, ¶¶ 24, 36, 48, 59, 70, 82;

                                                     22   2:18-cv-00278-JRG, ¶¶ 24, 35, 47, 58; and 2:18-cv-00279-JRG, ¶¶ 25, 36, 47.

                                                     23          18.     Defendant is seeking from the District Court in the Eastern District of Texas:

                                                     24   (i) damages sustained as a result of the alleged infringements, including up to treble damages; and

                                                     25   (ii) “[a] preliminary and permanent injunction against AUO, [AUO USA], or anyone acting on its

                                                     26   behalf from making, using, selling, offering to sell, or importing any products that infringe the

                                                     27   Asserted Patents, and any other injunctive relief the Court deems just and equitable… .” See Vista
                                                     28

                                                                                                     4
                                                                          COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1   Peak Ventures, LLC v. AU Optronics Corp., Case Nos. 2:18-cv-00276-JRG, ¶ 93; 2:18-cv-00278-

                                                      2   JRG, ¶69; and 2:18-cv-00279-JRG, ¶ 57.

                                                      3                                        FIRST CAUSE OF ACTION:

                                                      4                                    DECLARATORY JUDGMENT OF

                                                      5                   NON-INFRINGEMENT OF EACH OF THE ASSERTED PATENTS

                                                      6           19.     AUO USA hereby incorporates by reference Paragraphs 1 through 18, above, as if

                                                      7   fully set forth herein.

                                                      8           20.     On July 10, 2018, AUO USA received notice of three separate lawsuits Defendant

                                                      9   filed against AUO in which Defendant, inter alia, also accused AUO USA of engaging in conduct

                                                     10   constituting direct and indirect infringement of the Asserted Patents in the United States and aiding

                                                     11   AUO in such infringement.

                                                     12           21.     AUO USA denies that it has directly infringed any valid claim of the Asserted Patents

                                                     13   and further denies that it has induced the infringement or contributed to the infringement of any valid
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                                                     14   claim of the Asserted Patents, either individually or in concert with AUO.
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                                                     15           22.     By virtue of the foregoing, an actual and justiciable controversy has arisen and now

                                                     16   exists between AUO USA and Defendant, within the jurisdiction of the Court, regarding whether

                                                     17   AUO USA infringes one or more of the Asserted Patents.

                                                     18           23.     Declaratory relief is both appropriate and necessary in light of the conflicting
                                                     19   positions of the parties. AUO USA desires a judicial determination of the parties’ respective rights

                                                     20   and obligations in connection with each of the Asserted Patents.

                                                     21           24.     For the reasons set forth above, AUO USA respectfully requests that this Court

                                                     22   declare that, for each claim in the Asserted Patents for which Defendant claims infringement by

                                                     23   AUO USA, AUO USA has not directly infringed each one of the Asserted Patents, either literally or

                                                     24   under the doctrine of equivalents, and has neither induced the infringement nor contributed to the

                                                     25   infringement, of such claims either individually or in concert with AUO. Specifically, AUO USA

                                                     26   respectfully requests that this Court issue a judicial declaration to the effect that (inter alia, without

                                                     27   limitation) AUO USA’s:
                                                     28

                                                                                                      5
                                                                           COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                      2           indirectly infringe the ’947 patent, either literally or under the doctrine of equivalents;

                                                      3       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                      4           indirectly infringe the ’749 patent, either literally or under the doctrine of equivalents;

                                                      5       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                      6           indirectly infringe the ’093 patent, either literally or under the doctrine of equivalents;

                                                      7       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                      8           indirectly infringe the ’872 patent, either literally or under the doctrine of equivalents;

                                                      9       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     10           indirectly infringe the ’196 patent, either literally or under the doctrine of equivalents;

                                                     11       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     12           indirectly infringe the ’401 patent, either literally or under the doctrine of equivalents;

                                                     13       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
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                                                     14           indirectly infringe the ’474 patent, either literally or under the doctrine of equivalents;
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                                                     15       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     16           indirectly infringe the ’699 patent, either literally or under the doctrine of equivalents;

                                                     17       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     18           indirectly infringe the ’673 patent, either literally or under the doctrine of equivalents;
                                                     19       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     20           indirectly infringe the ’119 patent, either literally or under the doctrine of equivalents;

                                                     21       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     22           indirectly infringe the ’643 patent, either literally or under the doctrine of equivalents;

                                                     23       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     24           indirectly infringe the ’327 patent, either literally or under the doctrine of equivalents;

                                                     25       •   Use, importation, sales, and offers to sell TFT-LCD panels does not directly or
                                                     26           indirectly infringe the ’970 patent, either literally or under the doctrine of equivalents;

                                                     27           and
                                                     28

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                                                                   COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1                 •   Actions do not constitute inducement of infringement or contributory infringement of
                                                      2                     any claim in the Asserted Patents.

                                                      3                                        SECOND CAUSE OF ACTION:

                                                      4                                        DECLARATORY JUDGMENT OF

                                                      5              NO WILLFUL INFRINGEMENT OF EACH OF THE ASSERTED PATENTS

                                                      6           25.       AUO USA hereby incorporates by reference Paragraphs 1 through 18, above, as if

                                                      7   fully set forth herein.

                                                      8           26.       On July 10, 2018, AUO USA received notice of three separate lawsuits Defendant

                                                      9   filed against AUO in which Defendant, inter alia, accused AUO USA of engaging in alleged willful

                                                     10   infringement of the Asserted Patents in the United States.          Vista Peak Ventures, LLC v. AU

                                                     11   Optronics Corp., Case Nos. 2:18-cv-00276-JRG, ¶¶ 29, 41, 52, 63, 75, 87; 2:18-cv-00278-JRG, ¶¶

                                                     12   28, 40, 51, 63; and 2:18-cv-00279-JRG, ¶¶ 29, 40, 51.

                                                     13           27.       AUO USA denies that it infringes, directly or indirectly, any valid claim of the
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                                                     14   Asserted Patents.
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                     San Francisco, CA 94104




                                                     15           28.       By virtue of the foregoing, an actual and justiciable controversy has arisen and now

                                                     16   exists between AUO USA and Defendant, within the jurisdiction of the Court, regarding whether

                                                     17   AUO USA engaged in any course of conduct or possessed the requisite intent to willfully infringe

                                                     18   one or more of the Asserted Patents.
                                                     19           29.       Declaratory relief is both appropriate and necessary in light of the conflicting

                                                     20   positions of the parties. AUO USA desires a judicial determination of the parties’ respective rights

                                                     21   and obligations in connection with each of the Asserted Patents.

                                                     22           30.       For the reasons set forth above, AUO USA respectfully requests that this Court

                                                     23   declare that, for each claim in the Asserted Patents for which Defendant claims infringement by

                                                     24   AUO USA, AUO USA does not willfully infringe such claims. Specifically, AUO USA respectfully

                                                     25   requests that this Court issue a judicial declaration to the effect that (inter alia, without limitation)

                                                     26   AUO USA’s:

                                                     27                 •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     28                     the ’947 patent;

                                                                                                       7
                                                                            COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                      2           the ’749 patent;

                                                      3       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                      4           the ’093 patent;

                                                      5       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                      6           the ’872 patent;

                                                      7       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                      8           the ’196 patent;

                                                      9       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     10           the ’401 patent;

                                                     11       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     12           the ’474 patent;

                                                     13       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
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                                                     14           the ’699 patent;
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                                                     15       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     16           the ’673 patent;

                                                     17       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     18           the ’119 patent;
                                                     19       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     20           the ’643 patent;

                                                     21       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     22           the ’327 patent; and

                                                     23       •   Use, importation, sales, and offers to sell TFT-LCD panels does not willfully infringe
                                                     24           the ’970 patent.

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                                                                  COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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                                                      1                                        THIRD CAUSE OF ACTION:

                                                      2                       DEFENDANT’S RELIEF UNDER THE ASSERTED PATENTS

                                                      3                                 IS BARRED BY EQUITABLE ESTOPPEL

                                                      4           31.     AUO USA hereby incorporates by reference Paragraphs 1 through 18, above, as if

                                                      5   fully set forth herein.

                                                      6           32.     The Asserted Patents issued to NEC before and after 2003.

                                                      7           33.     Upon information and belief, NEC has been aware of various AUO display

                                                      8   technologies since at least 2003 and aware of the TFT-LCD technology accused of infringement by

                                                      9   Defendant in its complaints since around that same time.

                                                     10           34.     Neither AUO nor AUO USA has been accused of infringing the Asserted Patents

                                                     11   until February 2018, years after the time they began selling the products accused of infringing those

                                                     12   patents and years after NEC, the original owner of the Asserted Patents, had been made aware of the

                                                     13   accused AUO display technologies.
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                                                     14           35.     As a result of the inexcusable delay in bringing suit against AUO and AUO USA for
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                                                     15   alleged infringement of the Asserted Patents, and AUO USA’s detrimental reliance on NEC having

                                                     16   not brought any infringement action for the Asserted Patents, Defendant should be estopped from

                                                     17   obtaining relief for any alleged patent infringement against AUO USA.

                                                     18           36.     Under the circumstances, it would be against equity and good conscience to permit
                                                     19   Defendant to obtain any relief against AUO USA under the Asserted Patents, including any damages

                                                     20   or injunctions based on AUO USA’s alleged infringements of the same.

                                                     21                                          PRAYER FOR RELIEF
                                                     22           WHEREFORE, AUO USA prays that the Court:

                                                     23           1.      Determine and declare the parties’ respective rights and obligations under the

                                                     24   Asserted Patents.

                                                     25           2.      Find and declare that AUO USA does not infringe each of the Asserted Patents,

                                                     26   directly or indirectly, literally or under the doctrine of equivalents, and in no event willfully.

                                                     27           3.      Find and declare that Defendant is equitably estopped from any relief against AUO
                                                     28   USA under the Asserted Patents.

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                                                      1          4.     Award AUO USA its reasonable attorney fees and costs incurred in this matter.

                                                      2          5.     Award AUO USA such other and further relief as the Court deems just and proper,

                                                      3   premises considered.

                                                      4

                                                      5   Dated: August 1, 2018                        Respectfully submitted,
                                                                                                       LOCKE LORD LLP
                                                      6
                                                                                                       By: /s/ Regina J. McClendon
                                                      7
                                                                                                       Regina J. McClendon
                                                      8
                                                                                                       Attorneys for Plaintiff
                                                      9                                                AU OPTRONICS CORPORATION AMERICA
                                                     10

                                                     11

                                                     12
                                                                                          DEMAND FOR JURY TRIAL
                                                     13
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                                                                  Pursuant to Fed. R. Civ. P. 38, Plaintiff AU Optronics Corporation America hereby
                                                     14
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                                                          demands a trial by jury.
                                                     15
                                                          Dated: August 1, 2018                 LOCKE LORD LLP
                                                     16

                                                     17
                                                                                                By: /s/ Regina J. McClendon
                                                     18
                                                                                                Attorneys for Plaintiff
                                                     19                                         AU OPTRONICS CORPORATION AMERICA
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                                                                         COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE RELIEF
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